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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

WESLEY DANIEL VINEY,

Plaintiff,

v.                                                            Civil Action No.: CCB-22-44

LT. WILLIAM GRIESE,

Defendant

               REQUEST FOR EXTENSION OF TIME TO FILE RESPONSE

        Defendant William Griese, by and through his attorney T. Lee Beeman, Jr., County

Attorney for Allegany County, Maryland, moves, pursuant to Fed.R.Civ.P. 6(b)(1)(A) and

Standing Order 2012-01 (D.Md. 2012), for an extension of time to and including July 9, 2022, to

file a response to the complaint filed in the above-captioned case, and in support thereof, states the

following:

        1.      Undersigned counsel accepts service of process on behalf of Defendant.

        2.      Defendant’s response was due to be filed on Friday, May 6, 2022.

        3.      Although certain information and materials relating to the complaint herein have

now been received by undersigned counsel, it is necessary to obtain additional documents

including declarations, so that Defendants can prepare and file an appropriately detailed response.

        4.      An additional sixty (60) day period to and including July 5, 2022, within which to

respond to the Complaint should be sufficient to prepare Defendant’s initial pleadings.

        5.      This Motion is not made for purposes of delay.

        WHEREFORE, it is respectfully requested that this Court grant leave for Defendant to file

a response in the instant case on or before July 5, 2022.
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                                                  Respectfully submitted,

                                                  OFFICE OF THE COUNTY ATTORNEY
                                                  FOR ALLEGANY COUNTY, MARYLAND


                                                      /s/
                                                  T. Lee Beeman, Jr., Bar Number: 19613
                                                  701 Kelly Road, 4th Floor
                                                  Cumberland, Maryland 21502
                                                  Tel: (301) 777-5823
                                                  Fax: (301) 724-6970
                                                  Email: lbeeman@blpblaw.com
                                                  Counsel for Defendant



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 10th day of May, 2022, a copy of the foregoing Motion

for Extension of Time to File Response was mailed, postage prepaid, to:

       Wesley D. Viney,
       DOC #485438
       MCTC
       18800 Roxbury Road
       Hagerstown, MD 21746

                                                       /s/
                                                   T. Lee Beeman, Jr., Bar Number: 19613
